          Case 2:18-cv-01968-KJM-EFB Document 40 Filed 01/08/19 Page 1 of 4

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15   Checks; and Enformion, Inc.
16                           UNITED STATES DISTRICT COURT
17                          EASTERN DISTRICT OF CALIFORNIA
18
     DAVID GARZA, NASER ALZER,                 Case No. 2:18-cv-01968-KJM-EFB
19
     KIMBERLY KENNEDY,                         The Honorable Kimberly J. Mueller
20   AMANDEEP SINGH, SAMAH
     HAIDER, ON BEHALF OF                      Magistrate Judge Edmund F. Brennan
21   THEMSELVES AND OF OTHER
     SIMILARLY SITUATED,                       STIPULATION TO CONTINUE
22
                     Plaintiffs,               DISCOVERY CONFERENCE;
                                               [PROPOSED] ORDER
23         vs.
                                               Complaint Filed: July 16, 2018
24   CONFI-CHEK, INC., A HOLDING
     COMPANY FOR
25   PEOPLEFINDERS.COM;
     ENFORMION, INC.; AND
26   ADVANCED BACKGROUND
     CHECKS,
27
                     Defendants.
28


                 STIPULATION TO CONTINUE DISCOVERY CONFERENCE; [PROPOSED] ORDER
             Case 2:18-cv-01968-KJM-EFB Document 40 Filed 01/08/19 Page 2 of 4

 1                                             STIPULATION
 2            Plaintiffs David Garza, Naser Alzer, Margarita Hernandez, Kimberly Kennedy,
 3   Amandeep       Singh,   Samah    Haider    and   Defendants     Confi-Chek,     Inc.   d/b/a
 4   Peoplefinders.com and d/b/a Advanced Background Checks, and Enformion, Inc. hereby
 5   stipulate as follows:
 6            WHEREAS, on December 19, 2018, the Court set a discovery status conference
 7   before the Honorable Edmund F. Brennan for January 23, 2019 at 10:00 a.m. (Dkt. No. 37);
 8            WHEREAS, on December 20, 2018, the Court continued the discovery status
 9   conference to January 30, 2019 at 10:00 a.m. (Dkt. No. 38);
10            WHEREAS, Plaintiffs have propounded interrogatories and requests for
11   production on Defendants;
12            WHEREAS, in consideration of the scope of the requests, the holiday season, and
13   prescheduled vacation and other travel plans, Plaintiffs have agreed to an extension of time
14   through February 11, 2019 for Defendants to respond to the propounded written discovery;
15            WHEREAS, Defendants also intend to propound requests for production and
16   interrogatories on Plaintiff;
17            WHEREAS, given that the parties will not have responded to any discovery by
18   January 30, 2019, the parties agree that a discovery status conference before February 11,
19   2019 would be unfruitful;
20            NOW THEREFORE, with the Court’s consent, the parties hereby agree to continue
21   the discovery status conference to a date after February 11, 2019 that is mutually
22   convenient for the Court and all parties. The parties propose March 6, 2019 as the date
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24   ///
25   ///
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                   STIPULATION TO CONTINUE DISCOVERY CONFERENCE; [PROPOSED] ORDER
     53366886v.2
             Case 2:18-cv-01968-KJM-EFB Document 40 Filed 01/08/19 Page 3 of 4

 1   and time of the continued conference.
 2            IT IS SO STIPULATED.
 3

 4   DATED: January 8, 2019              Respectfully submitted,
 5                                       SEYFARTH SHAW LLP
 6                                       By: /s Christopher Lee
                                            Pamela Q. Devata
 7                                          John W. Drury
                                            Christopher J. Truxler
 8                                          Christopher Lee
                                            Attorneys for Defendants
 9

10   DATED: January 8, 2019              Respectfully submitted,
11                                       CONSUMER JUSTICE CENTER, P.A.
12
                                         By: /s/ Thomas J. Lyons, Jr.
13                                          Thomas J. Lyons, Jr.
                                            Attorneys for Plaintiffs
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                   STIPULATION TO CONTINUE DISCOVERY CONFERENCE; [PROPOSED] ORDER
     53366886v.2
             Case 2:18-cv-01968-KJM-EFB Document 40 Filed 01/08/19 Page 4 of 4

 1                                    [PROPOSED] ORDER
 2            Having considered the parties’ stipulation to continue the discovery status
 3   conference and GOOD CAUSE having been shown, the Court hereby continues the
 4   discovery status conference set for January 30, 2019 at 10:00 a.m. before the Honorable
 5   Edmund F. Brennan to March 6, 2019.
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 7            IT IS SO ORDERED.
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 9   Dated: _______________________        ____________________________________
                                           The Honorable Edmund F. Brennan
10                                         United States Magistrate Judge
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                   STIPULATION TO CONTINUE DISCOVERY CONFERENCE; [PROPOSED] ORDER
     53366886v.2
